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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                        CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                      ORDER TO SHOW CAUSE REGARDING
                                                            BELATED CROSS CLAIMS
13          vs.
14   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES,
15   INC., et al,
16                          Defendants.
                                                 /
17
     AND RELATED CROSS-ACTION.
18
     ___________________________________/
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20          The April 16, 2009 scheduling order required the parties to file amended pleadings no later than
21   April 24, 2009 and set motion deadlines, which have passed, and a December 17, 2009 pretrial
22   conference. On November 9, 2009, defendants Northern California Universal Enterprises Company,
23   Inc. (“NCUE”) and Lotus Developments, L.P. (“Lotus”) filed for the first time cross claims against
24   defendants City of Wasco (“Wasco”) and DeWalt, Inc. (“DeWalt”). As such, this Court ORDERS
25   NCUE and Lotus, no later than November 16, 2009, to file papers to show cause why this Court should
26   not impose sanctions, including striking the cross claims, on NCUE, Lotus and/or their counsel for
27   disobedience of this Court’s scheduling order and belated filing of cross claims well after discovery and
28   motion deadlines have passed.

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 1          This Court ADMONISHES all parties and counsel to comply with this Court’s orders, Local
 2   Rules and the Federal Rules of Civil Procedure. This Court requires counsel, as officers of the Court,
 3   to comply with their ethical and professional obligations.
 4          IT IS SO ORDERED.
 5   Dated:     November 12, 2009                    /s/ Lawrence J. O'Neill
     66h44d                                      UNITED STATES DISTRICT JUDGE
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